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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,                        )
                                                 )
               Plaintiff,                        )
                                                 )          No. 4:07-CR-121 CAS
       v.                                        )
                                                 )
HUSSEIN ALI NURE,                                )
                                                 )
               Defendant.                        )

                                            ORDER
       This matter is before the Court on pretrial matters. On the record during change of plea

proceedings on July 24, 2007, defendant withdrew his objections to the Magistrate Judge’s Order and

Recommendation of June 18, 2007, as modified by the Magistrate Judge’s Memorandum and Order

of June 21, 2007.

       Accordingly, after careful review,

       IT IS HEREBY ORDERED that Order and Recommendation of United States Magistrate

Judge, as modified, is sustained, adopted and incorporated herein. [Docs. 159, 168]

       IT IS FURTHER ORDERED that defendant’s motion to suppress evidence and statements

and defendant’s oral motion for suppression of May 7, 2007 are DENIED. [Docs. 98, 130]




                                                     _________________________________
                                                     CHARLES A. SHAW
                                                     UNITED STATES DISTRICT JUDGE


Dated this 25th day of July, 2007.
